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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In Re: AUTOMOTIVE PARTS                )     Master File No. 12-md-02311
ANTITRUST LITIGATION                   )     Honorable Marianne O. Battani
                                       )
                                       )
______________________________________ )
                                       )
In Re:                                 )
                                       )
AUTOMOTIVE STEEL TUBES CASES           )     Jury Trial Demanded
                                       )
                                       )
______________________________________ )
                                       )
THIS RELATES TO:                       )     Case No. ________________
                                       )
GROUP 1 AUTOMOTIVE, INC. AS            )
ASSIGNEE ON BEHALF OF GROUP 1          )
AUTOMOTIVE WHOLLY-OWNED                )
SUBSIDIARY DEALERSHIPS,                )
ASBURY AUTOMOTIVE GROUP, INC.          )
AS ASSIGNEE ON BEHALF OF               )
ASBURY AUTOMOTIVE WHOLLY-              )
OWNED SUBSIDIARY DEALERSHIPS,          )
VAN TUYL GROUP, LLC AS ASSIGNEE        )
ON BEHALF OF ASSIGNOR                  )
DEALERSHIPS, AND MAJOR                 )
AUTOMOTIVE COMPANIES, INC.             )
AS ASSIGNEE ON BEHALF OF               )
MAJOR AUTOMOTIVE WHOLLY-OWNED )
SUBSIDIARY DEALERSHIPS,                )
BRONX FORD, INC., AND                  )
CITY WORLD MOTORS, LLC,                )
                                       )
                  Plaintiffs.          )
                                       )
v.                                     )
                                       )
MARUYASU INDUSTRIES CO., LTD.,         )
CURTIS-MARUYASU AMERICA, INC.,         )
USUI KOKUSAI SANGYO KAISHA, LTD., )
USUI INTERNATIONAL CORPORATION, )



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SANOH INDUSTRIES CO., LTD.,                       )
AND SANOH AMERICA, INC.,                          )
                                                  )
                        Defendants.               )

                            PLAINTIFFS’ ORIGINAL COMPLAINT

         Plaintiffs Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships, Asbury Automotive Group, Inc. as Assignee on Behalf

of Asbury Automotive Wholly-owned Subsidiary Dealerships, Van Tuyl Group, LLC                     as

Assignee on Behalf of Assignor Dealerships, and           Major Automotive Companies, Inc. as

Assignee on Behalf of Major Automotive Wholly-owned Subsidiary Dealerships, Bronx Ford,

Inc., and City World Motors, LLC (collectively, “Plaintiffs”) file this Original Complaint (the

“Complaint”), on behalf of themselves, against Maruyasu Industries Co., Ltd., Curtis-Maruyasu

America, Inc. (collectively, “Maruyasu”), Usui Kokusai Sangyo Kaisha, Ltd., and Usui

International Corporation (collectively, “Usui”), Sanoh Industries Co., Ltd., and Sanoh America,

Inc. (collectively, “Sanoh”). Maruyasu, Usui, and Sanoh are collectively referred to herein as

“Defendants.” For their Complaint, Plaintiffs state as follows:

      I. NATURE OF ACTION

         1.      The global conspiracy to fix the prices of various automotive parts in violation of

multiple countries’ antitrust laws has resulted in the “biggest criminal antitrust investigation that

[the Department of Justice has] ever encountered…with respect to the impact on U.S. business

and consumers, and the number of companies and executives that are subject to the

investigation.”1    The United States alone has levied billions of dollars in fines and multiple

companies and executives have pled guilty to various antitrust charges. Dozens of civil lawsuits



1
    https://www.law360.com/articles/416139/doj-widens-antitrust-probe-into-auto-parts-industry.



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have been filed as well, including several class actions from both direct purchaser and indirect

purchasers of dozens of automotive parts. This action concerns the conspiracy to unlawfully fix

the prices of Automotive Steel Tubes and the substantial harm that conspiracy has caused

Plaintiffs, who comprise some of the largest groups of automobile dealerships in the country.

       2.      Automotive Steel Tubes are used in fuel distribution, braking and other

automotive systems and are sometimes divided into two categories – chassis tubes and engine

parts. Chassis tubes, such as brake and fuel tubes, tend to be located in the body of a vehicle

while engine parts, such as fuel injection rails, oil level tubes and oil strainer tubes, are

associated with the function of a vehicle’s engine.

       3.      Automotive Steel Tubes are essential components of modern automobiles. As

explained further below, Defendants control a significant portion of the market and, therefore,

were able to engage in a massive price-fixing conspiracy against the global automotive industry

for over a decade. Defendants’ conduct raised the prices of vehicles containing Automotive

Steel Tubes. The harm Defendants intentionally caused to Plaintiffs and others is substantial and

constitutes an antitrust injury under both federal and state laws as set forth below.

       4.      Plaintiffs bring this action to recover for this harm for Automotive Steel Tubes

and/or vehicles containing Automotive Steel Tubes purchased by Plaintiffs, manufactured by

Defendants or any co-conspirator, during the period from December 1, 2003 to the present (the

“Relevant Time Period”).

   II. JURISDICTION AND VENUE

       5.      This action arises under Section 16 of the Clayton Act (15 U.S.C. § 26) for

Defendants’ violation of Section 1 of the Sherman Act (15 U.S.C. § 1). Thus, this Court has

subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1337. Plaintiffs also assert various




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state law claims. This Court has subject matter jurisdiction over the state law claims in this

action pursuant to 28 U.S.C. §§ 1332(a) and 1367 as Plaintiffs and Defendants are citizens of

different states and the matter in controversy exceeds $75,000 exclusive of interests and costs.

        6.      Venue is proper in this district pursuant to Section 12 of the Clayton Act (15

U.S.C. §22), and 28 U.S.C. §§1391 (b), (c), and (d), because a substantial part of the events

giving rise to Plaintiffs’ claims occurred in this district, a substantial portion of the affected

interstate trade and commerce discussed below has been carried out in this district, and one or

more of the Defendants reside, are licensed to do business in, are doing business in, had agents

in, or are found or transact business in this district.

        7.      This Court has jurisdiction over each Defendant because each either directly or

through the ownership and/or control of its United States subsidiaries: (a) transacted business in

the United States, including in this district; (b) directly or indirectly sold or marketed substantial

quantities of Automotive Steel Tubes designed for vehicles to be sold throughout the United

States, including in this district; (c) had substantial aggregate contacts with the United States as a

whole, including in this district; (d) colluded with conspirators who engaged in conspiratorial

conduct in the United States, including in this district; and/or (e) was engaged in an illegal price-

fixing conspiracy that was directed at, and had a direct, substantial, reasonably foreseeable and

intended effect of causing injury to, the business or property of persons and entities residing in,

located in, or doing business throughout the United States. Defendants also conduct business

throughout the United States, including in this district, and they have purposefully availed

themselves of the laws of the United States and this district.

        8.      Defendants engaged in conduct both inside and outside of the United States that

caused direct, substantial, reasonably foreseeable and intended anti-competitive effects upon




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interstate commerce within the United States, and upon import trade and commerce within the

United States.

        9.       The activities of Defendants and their co-conspirators were within the flow of,

were intended to, and did have, a substantial effect on interstate commerce of the United States.

Defendants’ products are sold in the flow of interstate commerce.

        10.      Automotive Steel Tubes manufactured abroad by Defendants and sold for use in

automobiles either manufactured in the United States or manufactured abroad and sold in the

United States are goods brought into the United States for sale, and therefore constitute import

commerce. To the extent any Automotive Steel Tubes are purchased in the United States, and

such Automotive Steel Tubes do not constitute import commerce, Defendants’ unlawful

activities with respect thereto, as more fully alleged herein, had, and continue to have, a direct,

substantial and reasonably foreseeable effect on United States commerce. The anticompetitive

conduct, and its effect on United States commerce described herein, proximately caused antitrust

injury to Plaintiffs in the United States.

        11.      By reason of the unlawful activities alleged herein, Defendants substantially

affected commerce throughout the United States, causing injury to Plaintiffs.             Defendants,

directly and through their agents, engaged in activities affecting all states, to fix or inflate prices

of Automotive Steel Tubes, and that conspiracy unreasonably restrained trade and adversely

affected the market for Automotive Steel Tubes.

        12.      Defendants’ conspiracy and wrongdoing injured Plaintiffs who indirectly

purchased Automotive Steel Tubes and vehicles containing Automotive Steel Tubes.




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   III. PARTIES

             a. Plaintiffs

       13.      Plaintiff Group 1 Automotive, Inc. as Assignee on Behalf of Group 1 Automotive

Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal place of

business in Houston, Texas. The wholly-owned subsidiary dealerships identified on the attached

Exhibit A have assigned their claims to Group 1 Automotive, Inc. The dealerships are (or have

been) authorized dealers for at least the following: Audi, BMW, Buick, Chevrolet, Chrysler,

Dodge, Ford, GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Mercedes-

Benz, Mini, Mitsubishi, Nissan, Plymouth, Pontiac, Porsche, Ram, Scion, Smart, Subaru, Suzuki,

Toyota, Volkswagen, and Volvo. Group 1 Automotive, Inc. as Assignee on Behalf of Group 1

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Group 1 Automotive”)

purchases new vehicles containing Automotive Steel Tubes manufactured by Defendants and/or

replacement parts for Automotive Steel Tubes manufactured by Defendants.               Group 1

Automotive purchased and received the Automotive Steel Tubes and/or vehicles containing

Automotive Steel Tubes in the following states: California, Florida, Kansas, Massachusetts,

Mississippi, New Hampshire, New Mexico, New York, and South Carolina.                  Group 1

Automotive has also displayed, sold, serviced, and advertised its vehicles in those states during

the Relevant Time Period.       Accordingly, Group 1 Automotive has been forced to pay

Defendants’ supra-competitive prices. Group 1 Automotive, therefore, has been injured in its

business and/or property as a result of the unlawful conduct alleged herein.

       14.      Plaintiff Asbury Automotive Group, Inc. as Assignee on Behalf of Asbury

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Duluth, Georgia. The wholly-owned subsidiary dealerships identified on the




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attached Exhibit B have assigned their claims to Asbury Automotive Group, Inc.               The

dealerships are (or have been) authorized dealers for at least the following: Acura, Audi, BMW,

Buick, Cadillac, Chevrolet, Chrysler, Daewoo, Dodge, Ford, GMC, Honda, Hyundai, Infiniti,

Isuzu, Jaguar, Jeep, Kia, Land Rover, Lexus, Lincoln, Mazda, Mercedes-Benz, Mini, Mitsubishi,

Nissan, Pontiac, Porsche, Toyota, Scion, Subaru, Suzuki, Volkswagen, and Volvo. Asbury

Automotive Group, Inc. as Assignee on Behalf of Asbury Automotive Wholly-owned Subsidiary

Dealerships (hereinafter, “Asbury Automotive”) purchases new vehicles containing Automotive

Steel Tubes manufactured by Defendants and/or replacement parts for Automotive Steel Tubes

manufactured by Defendants. Asbury Automotive purchased and received the Automotive Steel

Tubes and/or vehicles containing Automotive Steel Tubes in the following states: Arkansas,

California, Florida, Missouri, Mississippi, North Carolina, Oregon, and South Carolina. Asbury

Automotive has also displayed, sold, serviced, and advertised its vehicles in those states during

the Relevant Time Period. Accordingly, Asbury Automotive has been forced to pay Defendants’

supra-competitive prices. Asbury Automotive, therefore, has been injured in its business and/or

property as a result of the unlawful conduct alleged herein.

       15.     Plaintiff Van Tuyl Group, LLC as Assignee on Behalf of Assignor Dealerships is

a Delaware limited liability company with its principal place of business in Irving, Texas. The

assignor dealerships identified on the attached Exhibit C have assigned their claims to Van Tuyl

Group, LLC. The dealerships are (or have been) authorized dealers for at least the following:

Acura, Alpha Romeo, Audi, BMW, Buick, Cadillac, Chevrolet, Chrysler, Dodge, Fiat, Ford,

GMC, Honda, Hyundai, Infiniti, Jeep, Kia, Lexus, Lincoln, Mazda, Nissan, Subaru, Toyota,

Volkswagen, and Volvo. Van Tuyl Group, LLC as Assignee on Behalf of Assignor (hereinafter,

“VTG”) purchases new vehicles containing Automotive Steel Tubes manufactured by




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Defendants and/or replacement parts for Automotive Steel Tubes manufactured by Defendants.

VTG purchased and received the Automotive Steel Tubes and/or vehicles containing Automotive

Steel Tubes in the following states: Arizona, California, Florida, Illinois, Missouri, Nebraska,

and New Mexico. VTG has also displayed, sold, serviced, and advertised its vehicles in those

states during the Relevant Time Period. Accordingly, VTG has been forced to pay Defendants’

supra-competitive prices. VTG, therefore, has been injured in its business and/or property as a

result of the unlawful conduct alleged herein.

       16.     Plaintiff Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships is a Delaware corporation with its principal

place of business in Long Island City, New York. The wholly-owned subsidiary dealerships

identified on the attached Exhibit D have assigned their claims to Major Automotive Companies,

Inc. The dealerships are (or have been) authorized dealers for at least the following: Chevrolet,

Chrysler, Jeep, and Dodge. Major Automotive Companies, Inc. as Assignee on Behalf of Major

Automotive Wholly-owned Subsidiary Dealerships (hereinafter, “Major Automotive”) purchases

new vehicles containing Automotive Steel Tubes manufactured by Defendants and/or

replacement parts for Automotive Steel Tubes manufactured by Defendants. Major Automotive

purchased and received the Automotive Steel Tubes and/or vehicles containing Automotive Steel

Tubes in New York. Major Automotive has also displayed, sold, serviced, and advertised its

vehicles in New York during the Relevant Time Period. Accordingly, Major Automotive has

been forced to pay Defendants’ supra-competitive prices. Major Automotive, therefore, has been

injured in its business and/or property as a result of the unlawful conduct alleged herein.

       17.     Plaintiff Bronx Ford, Inc. is a Delaware corporation with its principal place of

business in Bronx, New York. Bronx Ford, Inc. operates a dealership under the trade name City




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World Ford, formerly known as Bronx Ford Lincoln Mercury, Inc. and doing business as City

World Ford Lincoln Mercury. The dealerships are (or have been) authorized dealers for at least

the following: Ford and Lincoln. Bronx Ford purchases new vehicles containing Automotive

Steel Tubes manufactured by Defendants and/or replacement parts for Automotive Steel Tubes

manufactured by Defendants. Bronx Ford brings claims on behalf of its dealership in New York.

Bronx Ford has also displayed, sold, serviced, and advertised its vehicles in New York during the

Relevant Time Period. Accordingly, Bronx Ford has been forced to pay Defendants’ supra-

competitive prices. Bronx Ford, therefore, has been injured in its business and/or property as a

result of the unlawful conduct alleged herein.

       18.      Plaintiff City World Motors, LLC is a Delaware corporation with its principal

place of business in Bronx, New York. City World Motors, LLC operates a dealership under the

trade name City World Toyota Scion. The dealership is (or has been) an authorized dealer for at

least the following: Toyota and Scion. City World Motors, LLC (hereinafter, “City World

Motors”) purchases new vehicles containing Automotive Steel Tubes manufactured by

Defendants and/or replacement parts for Automotive Steel Tubes manufactured by Defendants.

City World Motors brings claims on behalf of its dealership located in New York. City World

Motors has also displayed, sold, serviced, and advertised its vehicles in New York during the

Relevant Time Period. Accordingly, City World Motors has been forced to pay Defendants’

supra-competitive prices. City World Motors, therefore, has been injured in its business and/or

property as a result of the unlawful conduct alleged herein.

             b. Defendants

                i.      Maruyasu Defendants

       19.           Defendant Maruyasu Industries Co., Ltd. is a Japanese corporation with its




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principal place of business in Nagoya, Aichi Prefecture, Japan. During the Relevant Time Period,

Defendant Maruyasu Industries Co., Ltd. – directly and/or through its subsidiaries, which it

wholly owned and/or controlled – manufactured, marketed and/or sold Automotive Steel Tubes

that were sold and purchased throughout the United States, including in this District.

        20.            Defendant Curtis-Maruyasu America, Inc. is an Indiana corporation with its

principal place of business in Lebanon, Kentucky. During the Relevant Time Period, Curtis-

Maruyasu America, Inc. conducted business from facilities located in several areas of the United

States, including Tracy, California and San Antonio, Texas. Curtis-Maruyasu America, Inc. is a

subsidiary of and wholly owned and/or controlled by its parent, Maruyasu Industries Co., Ltd.

Curtis-Maruyasu America, Inc. manufactured, marketed and/or sold Automotive Steel Tubes that

were sold and purchased throughout the United States, including in this District, during the

Relevant Time Period. At all times during the Relevant Time Period, its activities in the United

States were under the control and direction of its Japanese parent, which controlled its policies,

sales, and finances.

                 ii.      Usui Defendants

        21.      Usui Kokusai Sangyo Kaisha, Ltd. is a Japanese corporation with its headquarters

in Shimizu, Japan. During the Relevant Time Period, Usui Kokusai – directly and/or through its

subsidiaries, which it wholly owned and/or controlled – manufactured, marketed and/or sold

Automotive Steel Tubes that were sold and purchased throughout the United States, including in

this District.

        22.      Usui International Corporation is a Michigan corporation with its principal place

of business in Plymouth, Michigan. Usui International Corporation is a subsidiary of and wholly

owned and/or controlled by its parent Usui Kokusai. Usui International Corporation




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manufactured, marketed and/or sold Automotive Steel Tubes that were sold and purchased

throughout the United States, including in this District, during the Relevant Time Period. At all

times during the Relevant Time Period, its activities in the United States were under the control

and direction of its Japanese parent.

                 iii.   Sanoh Defendants

        23.      Sanoh Industries Co., Ltd. is a Japanese corporation with its headquarters in

Tokyo, Japan. During the Relevant Time Period, Sanoh Industries Co., Ltd. – directly and/or

through its subsidiaries, which it wholly owned and/or controlled – manufactured, marketed

and/or sold Automotive Steel Tubes that were sold and purchased throughout the United States,

including in this District.

        24.      Sanoh America, Inc. is a Michigan corporation with its principal place of business

in Findlay, Ohio. Sanoh America, Inc. is a subsidiary of and wholly owned and/or controlled by

its parent Sanoh Industries Co., Ltd. Sanoh America, Inc. manufactured, marketed and/or sold

Automotive Steel Tubes that were sold and purchased throughout the United States, including in

this District, during the Relevant Time Period. At all times during the Relevant Time Period, its

activities in the United States were under the control and direction of its Japanese parent.

              c. Agents and Co-Conspirators

        25.      Each Defendant acted as the principal of or agent for other Defendants with

respect to the acts, violations, and common course of conduct alleged.

        26.      On information and belief, additional persons and entities participated as co-

conspirators with Defendants in the conspiracy and performed acts in furtherance of the

conspiracy and anti-competitive conduct.        The identities of such persons and entities are

currently unknown.




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        27.     Whenever in this Complaint reference is made to any act, deed or transaction of

any corporation or limited liability entity, the allegation means that the corporation or limited

liability entity engaged in the act, deed or transaction by or through its officers, directors, agents,

employees or representatives while they were actively engaged in the management, direction,

control or transaction of the corporation’s or limited liability entity’s business or affairs.

    IV. PROCEDURAL HISTORY

        28.     In the wake of the DOJ’s investigations and criminal convictions described

herein, automobile dealers, buyers, and others began filing class action lawsuits against

automotive parts manufacturers, including Defendants, in United States district courts across the

country on behalf of direct and indirect purchasers of various automobile parts.

        29.     In February 2012, the Panel on Multidistrict Litigation consolidated the existing

actions in the United States District Court for the Eastern District of Michigan, styled In re:

Automotive Parts Antitrust Litigation, 2:12-md-02311. Since the beginning of the MDL,

numerous additional suits alleging price fixing on automobile parts, including Automotive Steel

Tubes, have been combined.

        30.     In May 2016, the United States District Court for the Eastern District of Michigan

gave final approval for settlements with certain defendants (“First Group” settlements) providing

benefits to eligible automobile dealers related to the massive antitrust conspiracy to fix the prices

of automotive parts. Plaintiffs did not opt-out of the First Group.

        31.     On February 27, 2018, February 21, 2019, and May 16, 2019, the United States

District Court for the Eastern District of Michigan preliminarily approved the proposed

settlement of claims of eligible automobile dealerships for automotive parts, including

Automotive Steel Tubes, against certain defendants (“Fourth Group” settlements). See Exhibit E.




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       32.      Pursuant to Rule 23, the Court ordered the parties in the class action to provide

notice to the absent class members advising them of, among other things, their right to opt-out of

any of the proposed settlements.

       33.      Plaintiffs properly exercised their right to opt out from the settlements related to

multiple automotive parts in the Second, Third and Fourth Groups, including Automotive Steel

Tubes, prior to the opt-out deadline provided in the notice.

       34.      As set forth herein, Defendants engaged in a massive, anti-competitive conspiracy

to raise the prices of Automotive Steel Tubes above competitive levels. As a result, Plaintiffs,

who are automobile dealers, paid supra-competitive prices for Automotive Steel Tubes and/or

vehicles containing Automotive Steel Tubes. Defendants have caused Plaintiffs substantial

antitrust injuries to their business and property. As such, Plaintiffs now bring this action for

damages, injunctive relief, and other relief pursuant to federal antitrust laws and state antitrust,

unfair competition, unjust enrichment and consumer protection laws, and demand a trial by jury.

   V. FACTUAL ALLEGATIONS

             a. The Automotive Steel Tubes Market

       35.      Defendants manufacture, market, and sell automotive parts including, relevant to

this lawsuit, Automotive Steel Tubes. Automotive Steel Tubes are used in fuel distribution,

braking and other automotive systems and are sometimes divided into two categories – chassis

tubes and engine parts. Chassis tubes, such as brake and fuel tubes, tend to be located in the

body of a vehicle while engine parts, such as fuel injection rails, oil level tubes and oil strainer

tubes, are associated with the function of a vehicle’s engine.

       36.      Automotive Steel Tubes are installed both as original equipment from an

automobile manufacturer (“OEM”) and also as replacement parts when the systems become




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defective or damaged. For new automobiles, OEMs purchase Automotive Steel Tubes from

parts suppliers such as Defendants. OEMs may also purchase Automotive Steel Tubes from

component manufacturers referred to as “Tier 1 manufacturers”. Defendants supplied

Automotive Steel Tubes directly to OEMs.

         37.      OEMs and Tier 1 manufacturers purchase parts for U.S.-manufactured vehicles

both in Japan and the United States. Before production of a new automobile model begins,

OEMs and Tier 1 manufacturers issue Requests for Quotation (“RFQs”) to automotive parts

suppliers for model-specific parts (such as Automotive Steel Tubes) for that model of

automobile.      In response, automobile parts suppliers submit bids to the OEMs and Tier 1

manufacturers. The OEMs or Tier 1 manufacturers then select a supplier based on its bid.

Generally, a supplier of a model-specific part is selected for the lifespan of that automobile

model.

         38.      OEMs in turn supply Automotive Steel Tubes to automobile dealerships,

including Plaintiffs. Plaintiffs indirectly purchase Automotive Steel Tubes from Defendants by,

for example, purchasing or leasing a new vehicle containing Automotive Steel Tubes.

               b. Defendants’ Conspiracy and Anti-Competitive Conduct

         39.      Defendants colluded and conspired with their co-conspirators to fix the prices of

Automotive Steel Tubes above competitive levels. Where competitors have conspired to fix

prices and hinder competition, prices remain the same or even increase despite the competitors’

costs remaining steady or even decreasing. That is what happened with Automotive Steel Tubes.

         40.      Defendants and their co-conspirators entered into and engaged in a combination

and conspiracy to suppress and restrain competition by: (a) agreeing to allocate and rig bids and

RFQ responses on Automotive Steel Tubes; (b) allocating and rigging such bids; and (c)




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submitting rigged and non-competitive bids and RFQ responses for the sale of Automotive Steel

Tubes installed in vehicles produced by OEMs and sold in the United States and elsewhere.

       41.     The nature of the Automotive Steel Tubes market in the United States is

conducive to a price-fixing agreement, and has made collusion particularly attractive in this

market. Specifically, the Automotive Steel Tubes market: (1) has high barriers to entry and

(2) has inelasticity of demand.

       42.     Where a group has entered into a conspiracy to raise prices above competitive

levels for a particular market, new companies would seemingly use that as an opportunity to

enter that market with more competitive pricing. This is less likely to occur where there are

significant barriers to entering the market at issue.

       43.     Significant barriers to entry exist in the Automotive Steel Tubes. First, a new

company would face high start-up costs, including millions of dollar costs related to

manufacturing plants, equipment, energy, transportation, distribution infrastructure, and

customer relationships.

       44.     Additionally, there are regulatory standards relating to Automotive Steel Tubes.

Compliance with these standards requires knowledge of the industry and significant engineering

expertise, and therefore presents another barrier to entry.

       45.     Finally, OEMs cannot freely swap out one Automotive Steel Tubes supplier for

another. Automotive Steel Tubes and vehicles are designed to integrate with one another. An

OEM designs a vehicle such that Automotive Steel Tubes purchased for that vehicle integrate

with the other components of that particular model. It would be difficult for a new entrant to

enter the market after a vehicle has been specifically designed to integrate with particular

Automotive Steel Tubes. This contributes to the high barrier to entering the Automotive Steel




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Tubes market.

       46.      Regarding inelasticity of demand, there is inelasticity of demand for Automotive

Steel Tubes. “Elasticity is a measure of a variable’s sensitivity to a change in another variable.”2

Price elasticity of demand is “a measure of the relationship between a change in the quantity

demanded of a particular good and a change in its price.”3 “If a small change in price is

accompanied by a large change in quantity demanded, the produce is said to be elastic (or

responsive to price changes). Conversely, a product is inelastic if a large change in price is

accompanied by a small amount of change in quantity demanded.”4 Customers who have no

cheaper alternative for a product with inelastic demand are forced to continue to purchase the

product at higher prices. Thus, inelastic demand in a market facilitates conspiring by allowing

producers to raise their prices without fear of losing sales to other substitute products (or

customers not buying the product at all).

       47.      Demand for Automotive Steel Tubes is highly inelastic. No close substitute

products exist. Automotive Steel Tubes are an essential part of every vehicle and must be

purchased even if prices are raised.

             c. Government Investigations

       48.      As discussed above, government investigations into the rampant automotive parts

industry antitrust conspiracies are well documented. The DOJ continues to investigate the “price

fixing, bid rigging and other anticompetitive conduct in the automotive parts industry…A total of

65 individuals and 47 companies have been charged in the Antitrust Division’s investigations




2
  http://www.investopedia.com/terms/e/elasticity.asp
3
  http://www.investopedia.com/terms/p/priceelasticity.asp
4
  Id.



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into the automotive parts industry.”5 The DOJ has described the investigation as the largest

criminal investigation it has ever undertaken. The DOJ has thus far fined companies over $2.9

billion related to this investigation and sentenced dozens to jail terms.6

       49.     The DOJ’s investigation into illegal bid rigging and price fixing in the automotive

parts industry began as a part of a global effort including the European Union and Japan. In

February 2010 and in June 2010, the European Commission (“EC”) conducted raids on the

offices of several defendants. Also in February 2010, Japan’s Fair Trade Commission (“JFTC”)

raided the Tokyo offices of Furukawa Electric, Sumitomo Electric, and Yazaki Corporation,

seeking evidence of collusion in the industry. Finally, FBI investigators raided three Detroit-area

Japanese auto parts makers as part of a federal antitrust investigation.

       50.     To date, the DOJ’s criminal investigation of illegal price fixing and bid rigging in

the automotive parts industry has likewise resulted in the filing of criminal charges against

numerous automotive parts manufacturers. Criminal fines specifically related to the Automotive

Steel Tubes market include:

               a. On November 8, 2016, Usui agreed to plead guilty to one count of Conspiracy

                   to Restrain Trade and agreed to pay a criminal fine of $7.2 million for

                   conspiring to fix prices, allocate customers and rig bids for Automotive Steel

                   Tubes. As part of the conspiracy, Usui:

                        i. Participated in meetings, conversations and communications in which
                           it agreed to customer allocations as well as bids, prices and price
                           adjustments to be submitted to customers in the United States and
                           elsewhere.



5
  https://www.justice.gov/opa/pr/auto-parts-industry-executive-pleads-guilty-obstruction-justice.
6
  https://www.law360.com/foodbeverage/articles/885906/trends-to-watch-in-doj-cartel-
investigations-this-year.



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                  ii. Employed measures to conceal its conduct, including meeting
                      surreptitiously and adopting means and methods of communication
                      designed to avoid detection.

                 iii. Participated in meetings, conversations, and communications in the
                      United States and elsewhere concerning bids, prices, and price
                      adjustments for Automotive Steel Tubes.

                 iv. Exchanged information and agreed during such meetings,
                     conversations, and communications on allocations, bids, prices and
                     price adjustments to be submitted to OEMs regarding Automotive
                     Steel Tubes.

                  v. Submitted, directed, and authorized the submission of collusive and
                     non-competitive bids, prices, and price adjustments for Automotive
                     Steel Tubes.

                 vi. Sold Automotive Steel Tubes at non-competitive prices.

                 vii. Employed measures to conceal their conduct, including, but not
                      limited to, avoiding the use of co-conspirators’ names, meeting
                      surreptitiously with co-conspirators, and adopting means and methods
                      of communication designed to avoid detection.

            b. On May 31, 2018, Maruyasu agreed to plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $12 million

               for conspiring to fix prices, rig bids, and allocate customers for Automotive

               Steel Tubes. As part of the conspiracy, Maruyasu:

                   i. Participated in meetings, conversations, and communications in the
                      United States and elsewhere concerning customers, bids, prices, and
                      price adjustments for Automotive Steel Tubes to be submitted to
                      customers in the United States and elsewhere.

                  ii. Exchanged information and agreed during such meetings,
                      conversations, and communications on allocations of customers, as
                      well as on bids, prices, and price adjustments to be submitted to
                      customers in the United States and elsewhere.

                 iii. Agreed during those meetings, conversations, and communications not
                      to compete for certain customers or for certain business for
                      Automotive Steel Tubes sold in the United States and elsewhere by not
                      submitting prices or bids or by submitting collusive and
                      noncompetitive prices or bids to customers in the United States and


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                          elsewhere.

                      iv. Submitted, directed, and authorized the submission of collusive and
                          noncompetitive bids, prices, and price adjustments for Automotive
                          Steel Tubes.

                       v. Sold Automotive Steel Tubes at collusive and noncompetitive prices.

                      vi. Employed measures to conceal its conduct, including, but not limited
                          to, avoiding the use of co-conspirators’ names, meeting surreptitiously
                          with co-conspirators, and adopting means and methods of
                          communication designed to avoid detection.

       51.     Dozens of additional companies and individuals have plead guilty to price fixing

in the broader automotive parts industry as a result of the DOJ’s investigations, including:

               a. On March 1, 2012, Yazaki Corporation plead guilty to three counts of

                   Conspiracy to Restrain Trade and agreed to pay a criminal fine of $470

                   million for conspiring to rig bids and fix prices of automotive wire harnesses,

                   instrument panel clusters, and fuel senders.

               b. On March 5, 2012, DENSO Corporation plead guilty to two counts of

                   Conspiracy to Restrain Trade and agreed to pay a criminal fine of $78 million

                   for conspiring to rig bids and fix prices of electrical control units and heater

                   control panels.

               c. On May 16, 2012, G. S. Electech, Inc. plead guilty to one count of Conspiracy

                   to Restrain Trade and agreed to pay a criminal fine of $2.75 million for

                   conspiring to rig bids and fix prices of speed sensor wire assemblies.

               d. On June 21, 2012, Fujikura LTD plead guilty to one count of Conspiracy to

                   Restrain Trade and agreed to pay a criminal fine of $20 million for conspiring

                   to rig bids and fix prices of automotive wire harnesses.

               e. On June 21, 2012, Autoliv, Inc. plead guilty to two counts of Conspiracy to



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                 Restrain Trade and agreed to pay a criminal fine of $14.5 million for

                 conspiring to rig bids, fix prices, and otherwise restrain trade of seatbelts,

                 airbags and steering wheels.

            f. On September 25, 2012, TRW Deutschland Holding GmbH plead guilty to

                 one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                 $5.1 million for conspiring to rig bids and fix prices of seatbelts, airbags and

                 steering wheels.

            g.   On November 8, 2012, Nippon Seiki Co., Ltd. plead guilty to one count of

                 Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1 million

                 for conspiring to rig bids and fix prices of instrument panel clusters.

            h. On December 12, 2012, Tokai Rika Co. Ltd. plead guilty to one count of

                 Conspiracy to Restrain Trade and one count of Obstruction of Justice and

                 agreed to pay a criminal fine of $17.7 million for conspiring to rig bids and fix

                 prices of heater control panels.

            i. On July 2, 2013, Furukawa Electric Company, Ltd. plead guilty to one count

                 of Conspiracy to Restrain Trade and agreed to pay a criminal fine of $200

                 million for conspiring to rig bids and fix prices of automotive wire harnesses.

            j. On August 6, 2013, Panasonic Corporation plead guilty to three counts of

                 Conspiracy to Restrain Trade and agreed to pay a criminal fine of $45.8

                 million for conspiring to rig bids, fix prices, and otherwise restrain trade of

                 HID ballasts, switches, and steering angle sensors.

            k. On September 11, 2013, Diamond Electric Mfg. Co. Ltd. plead guilty to one

                 count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of




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               $19 million for conspiring to rig bids, fix prices, and otherwise restrain trade

               of ignition coils.

            l. On October 21, 2013, Yamashita Rubber Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $11 million

               for conspiring to rig bids and fix prices of anti-vibrational rubber parts.

            m. On November 5, 2013, Valeo Japan Co., LTD. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $13.6

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade of air conditioning systems.

            n. On November 6, 2013, Mitsubishi Electric Corporation (“Mitsubishi”) plead

               guilty to one count of Conspiracy to Restrain Trade and agreed to pay a

               criminal fine of $190 million for conspiring to rig bids, fix prices, and

               otherwise restrain trade of starter motors, alternators, and ignition coils.

            o. On November 6, 2013, Mitsuba Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and one count of Obstruction of Justice and

               agreed to pay a criminal fine of $135 million for conspiring to rig bids, fix

               prices, allocate customers, and otherwise restrain trade of windshield washer

               and wiper systems, starter motors, power window motors, and fan motors.

            p. On November 7, 2013, Hitachi Automotive Systems, Ltd. plead guilty to one

               count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $195 million for conspiring to rig bids, fix prices, allocate customers, and

               otherwise restrain trade of starter motors, alternators, air flow meters, valve

               timing control devices, fuel injection systems, electronic throttle bodies,




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               ignition coils, inverters, and motor generators.

            q. On November 13, 2013, T.RAD Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and one count of Obstruction of Justice and

               agreed to pay a criminal fine of $13.75 million for conspiring to rig bids, fix

               prices, allocate customers, and otherwise restrain trade of radiators and

               automatic transmission fluid warmers.

            r. On November 26, 2013, Toyo Tire & Rubber Co., LTD. agreed to plead guilty

               to two counts of Conspiracy to Restrain Trade and agreed to pay a criminal

               fine of $120 million for conspiring to rig bids, fix prices, and otherwise

               restrain trade of anti-vibrational rubber parts and automotive constant-

               velocity-joint boot products.

            s. On December 5, 2013, Takata Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $71.3

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               seatbelts.

            t. On January 23, 2014, Stanley Electric Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1.44

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               HID ballasts.

            u. On February 11, 2014, Koito Manufacturing Co., Ltd. plead guilty to two

               counts of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $56.6 million for conspiring to rig bids, fix prices, and otherwise restrain trade

               of HID ballasts and lighting fixtures.




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            v. On March 5, 2014 Aisan Industry Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $6.86

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               electronic throttle bodies.

            w. On April 20, 2014, Bridgestone Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $425

               million for conspiring to rig bids, allocate customers, and fix prices of anti-

               vibrational rubber parts.

            x. On July 8, 2014, NSK Ltd. plead guilty to one count of Conspiracy to Restrain

               Trade and agreed to pay a criminal fine of $68.2 million for conspiring to rig

               bids, fix prices, allocate customers, and otherwise restrain trade of bearings.

            y. On July 9, 2014, JTEKT Corporation plead guilty to two counts of Conspiracy

               to Restrain Trade and agreed to pay a criminal fine of $103.27 million for

               conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of bearings and electric powered steering assemblies.

            z. On October 3, 2014, Riverside Seat Company, Woodbridge Foam Fabricating,

               Inc., and SW Foam LLC plead guilty to one count of Conspiracy to Restrain

               Trade and agreed to pay a criminal fine of $6,148,800 collectively for

               conspiring to fix prices and otherwise restrain trade of polyurethane foam.

            aa. On October 8, 2014, NGK Spark Plug Co., Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $52.1

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade of spark plugs, standard oxygen sensors, and air fuel ratio




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               sensors.

            bb. On October 21, 2014, Showa Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $19.9

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               electronic power steering assemblies.

            cc. On December 16, 2014, Toyoda Gosei Co., LTD. plead guilty to two count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $26 million

               for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of certain automotive hoses, airbags, and steering wheels.

            dd. On January 23, 2015, Hitachi Metals, Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $1.25

               million for conspiring to rig bids, allocate customers, and fix prices of brake

               hoses.

            ee. On February 10, 2015, Aisin Seiki Co., LTD. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $35.8

               million for conspiring to rig bids, allocate customers, fix prices, and otherwise

               restrain trade of variable timing devices.

            ff. On April 1, 2015, Continental Automotive Electronics LLC plead guilty to

               one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $4 million for conspiring to rig bids on instrument panel clusters.

            gg. On April 24, 2015, Minebea Co., LTD plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $13.5

               million for conspiring to fix prices and otherwise restrain trade on bearings.




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            hh. On June 22, 2015, Robert Bosch GmbH plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $57.8

               million for conspiring to rig bids, fix prices, allocate customers, and otherwise

               restrain trade on spark plugs, oxygen sensors, and starter motors.

            ii. On June 24, 2015, Yamada Manufacturing Co. Ltd. plead guilty to one count

               of Conspiracy to Restrain Trade and agreed to pay a criminal fine of $2.5

               million for conspiring to rig bids, fix prices, and otherwise restrain trade of

               steering columns.

            jj. On November 2, 2015, Kayaba Industry Co LTD plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $62 million

               for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

               trade of shock absorbers.

            kk. On November 16, 2015, NGK Insulators, Ltd. plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $65.3

               million for conspiring to rig bids and fix prices of ceramic substrates for

               automotive catalytic converters.

            ll. On January 22, 2016, Inoac Corporation plead guilty to one count of

               Conspiracy to Restrain Trade and agreed to pay a criminal fine of $2.35

               million for conspiring to rig bids, allocate customers, and fix prices plastic

               interior trim.

            mm.    On May 17, 2016, Corning International Kabushiki Kaisha plead guilty to

               one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

               $66.5 million for conspiring to rig bids, allocate customers, and fix prices of




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                    ceramic substrates for emission control systems.

                 nn. On June 13, 2016, Omron Automotive Electronics Co., Ltd. plead guilty to

                    one count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                    $4.55 million for conspiring to rig bids on power window switches.

                 oo. On September 1, 2016, Nishikawa Rubber Co., LTD. plead guilty to one

                    count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                    $130 million for conspiring to rig bids, allocate customers, and fix prices on

                    automotive body sealing products.

                 pp. On September 15, 2016, Alpha agreed to plead guilty to one count of

                    Conspiracy to Restrain Trade and agreed to pay a criminal fine of $9 million

                    for conspiring to rig bids, fix prices, allocate customers, and otherwise restrain

                    trade of access mechanisms.

                 qq. On February 17, 2017, Hitachi Automotive Systems Ltd plead guilty to one

                    count of Conspiracy to Restrain Trade and agreed to pay a criminal fine of

                    $55.48 million for conspiring to rig bids, allocate customers, and fix prices on

                    shock absorbers.

         52.     The sprawling number of indictments and guilty pleas related to the global

conspiracy to rig bids and fix prices of various automotive parts is shocking.

   VI.         COMPETITIVE INJURY

         53.     Defendants’ conspiracy has harmed each Plaintiff. The cost of vehicles containing

Automotive Steel Tubes are supra-competitive because of Defendants’ conduct.                 But for

Defendants’ conspiracy, automobile dealers, including Plaintiffs, would not have paid such

supra-competitive, artificially inflated prices. Absent the supra-competitive prices, Plaintiffs




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would be able to gain the benefits of competition as to Automotive Steel Tubes, which would

reduce the prices to a competitive level. Instead, OEMs passed inflated prices from Defendants

to Plaintiffs. Thus, Plaintiffs paid higher prices for vehicles containing Automotive Steel Tubes

than they otherwise would have paid absent Defendants’ conspiracy and conduct.

        54.      Each Plaintiff absorbed a substantial portion of the overcharges that they paid due

to Defendants’ illegal activities. Plaintiffs did not pass on all overcharges caused by Defendants’

illegal activities.

        55.      Automotive Steel Tubes are identifiable, discrete physical products that remain

essentially unchanged when incorporated into a vehicle. As a result, Automotive Steel Tubes

follow a traceable physical chain of distribution from Defendants to Plaintiffs, and any costs

attributable to Automotive Steel Tubes can be traced through the chain of distribution to

Plaintiffs.

        56.      The market for Automotive Steel Tubes and the market for automobiles are

inextricably linked and intertwined because the market for Automotive Steel Tubes exists to

serve the automobile market.       As antitrust scholars Professors Robert G. Harris (Professor

Emeritus and former Chair of the Business and Public Policy Group at the Haas School of

Business at the University of California at Berkeley) and the late Lawrence A. Sullivan

(Professor of Law Emeritus at Southwestern Law School and author of the Handbook of the Law

of Antitrust) have recognized, “in a multiple level chain of distribution, passing on monopoly

overcharges is not the exception: it is the rule.”7 Without the automobiles, the Automotive Steel

Tubes have little to no value. The demand for automobiles creates the demand for Automotive


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  Robert G. Harris & Lawrence A. Sullivan, Passing on the Monopoly Overcharge: A
Comprehensive Policy Analysis, 128 U. Pa. L. Rev. 269, 276 (1979).




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Steel Tubes. Thus, the artificially inflated prices of Automotive Steel Tubes in new automobiles

as a result of Defendants’ conspiracy have been passed to the indirect-purchaser Plaintiffs.

       57.     Well-accepted economic models can quantify the specific overcharge impacting

the prices of motor vehicles containing Automotive Steel Tubes. For example, economists use

“regression analysis” to isolate and understand the relationship between an “explanatory”

variable and a “dependent” variable when numerous, changing variables exist. Using regression

analysis, it is possible to isolate and identify the impact of an increase in the price of Automotive

Steel Tubes (explanatory variable) on prices for new motor vehicles (dependent variable) even

though such products contain a number of other components whose prices may be changing over

time. Thus, the precise amount of overcharge passed on to indirect purchasers as a result of

Defendants’ unlawful conspiracy can be measured.

       58.     Defendants’ conspiracy restrained competition in the United States, including in

all states that permit the recovery of damages by indirect purchasers, and had substantial effects

on the commerce of the United States.

   VII.      DISCOVERY RULE AND FRAUDULENT CONCEALMENT

       59.     Plaintiffs had no knowledge of Defendants’ conduct and conspiracy, as alleged

herein, and had no reason to know of such conduct until, at the earliest, the DOJ’s public

announcement of Usui’s anticipated guilty plea. Plaintiffs had no knowledge or reason to know

of the existence of the conspiracy prior to that date. Plaintiffs are automobile dealers who had no

direct contact or interaction with any of Defendants and no means to discover the conspiracy.

       60.     Defendants further took affirmative steps to conceal their misconduct.

Defendants kept their agreements, understandings and conspiracies secret.            A price-fixing

conspiracy such as this one is, by its very nature, secretive. As explained in Usui’s guilty plea,




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the conspirators concealed their activities from the authorities.

           61.      Plaintiffs could not have discovered the alleged conspiracy and conduct at an

earlier date by the exercise of reasonable diligence.

           62.      Thus, the discovery rule and Defendants’ fraudulent concealment have tolled the

running of any applicable statutes of limitations.

           63.      Any applicable statutes of limitations as to Plaintiffs have been further tolled by

the pending class actions and other equitable tolling doctrines.

    VIII. CLAIMS

                 a. Count 1 – Violation of Section 1 of the Sherman Act

           64.      Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

           65.      Defendants and unnamed conspirators entered into and engaged in a contract,

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act (15 U.S.C. §1).

           66.      The acts done by each of Defendants as part of, and in furtherance of, their

contract, combination, or conspiracy were authorized, ordered, or done by their officers, agents,

employees, or representatives while actively engaged in the management of Defendants’ affairs.

           67.      At least as early as December 2003, and continuing through the present, the exact

dates being unknown to Plaintiffs, Defendants and their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to rig bids for and to artificially fix,

raise, stabilize and control prices for Automotive Steel Tubes thereby creating anticompetitive

effects.

           68.      The anti-competitive acts were intentionally directed at the United States market

for Automotive Steel Tubes and had a substantial and foreseeable effect on interstate commerce




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by raising and fixing prices for Automotive Steel Tubes throughout the United States.

          69.   The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Automotive Steel Tubes.

          70.   As a result of Defendants’ and their co-conspirators’ unlawful conduct, Plaintiffs

have been harmed by purchasing Automotive Steel Tubes or vehicles containing Automotive

Steel Tubes manufactured by Defendants or their co-conspirators by being forced to pay inflated,

supra-competitive prices for such products.

          71.   In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and courses of conduct set forth

herein.

          72.   Defendants’ conspiracy had the following effects, among others:

                a. Price competition in the market for Automotive Steel Tubes has been
                   restrained, suppressed and/or eliminated in the United States;

                b. Prices for Automotive Steel Tubes sold by Defendants and their co-
                   conspirators have been fixed, raised, maintained and stabilized at artificially
                   high, noncompetitive levels throughout the United States; and

                c. Plaintiffs who purchased Automotive Steel Tubes, or vehicles containing
                   Automotive Steel Tubes manufactured by Defendants and their co-
                   conspirators have been deprived of the benefits of free and open competition
                   and have been forced to pay artificially inflated prices for such products.

          73.   Plaintiffs have been injured and will continue to be injured in their business and

property by paying more for Automotive Steel Tubes or vehicles containing Automotive Steel

Tubes manufactured by Defendants and their co-conspirators than they would have paid and will

pay in the absence of the conspiracy.

          74.   The alleged contract, combination, or conspiracy is a per se violation of the




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federal antitrust laws.

        75.      Plaintiffs are entitled to an injunction against Defendants, pursuant to 15 U.S.C.

§26, preventing and restraining the violations alleged herein.

              b. Count 2 – Violation of State Antitrust Statutes

        76.      Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

        77.      From as early as December 2003 through the present, Defendants and their co-

conspirators engaged in a continuing contract, combination or conspiracy with respect to the sale

of Automotive Steel Tubes in an unreasonable restraint of trade and commerce and in violation

of the various state antitrust statutes set forth below.

        78.      The contract, combination, or conspiracy consisted of an agreement among the

Defendants and their co-conspirators to fix, raise, inflate, stabilize, and/or maintain artificially

supra-competitive prices for Automotive Steel Tubes and to allocate customers for Automotive

Steel Tubes in the United States.

        79.      In formulating and effectuating this conspiracy, Defendants and their co-

conspirators performed acts in furtherance of the combination and conspiracy, including:

                 a. Participating in meetings and conversations among themselves during which
                    they agreed to price Automotive Steel Tubes at certain levels and otherwise to
                    fix, increase, inflate, maintain, or stabilize effective prices paid by Plaintiffs
                    with respect to Automotive Steel Tubes sold in the United States;

                 b. Allocating customers and markets and rigging bids for Automotive Steel
                    Tubes in the United States in furtherance of their agreements; and

                 c. Participating in meetings and conversations among themselves to implement,
                    adhere to and police the unlawful agreements they reached.

        80.      Defendants and their co-conspirators engaged in the actions described above for

the purpose of carrying out their unlawful agreements to fix, maintain, decrease, or stabilize

prices, to rig bids and to allocate customers with respect to Automotive Steel Tubes.



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        81.     The anti-competitive acts were intentionally directed at the market for

Automotive Steel Tubes in all states in which Plaintiffs do business allowing indirect purchasers

to collect damages and had a substantial and foreseeable effect on intrastate commerce by raising

and fixing prices for Automotive Steel Tubes throughout those states.

        82.     Plaintiffs were deprived of free and open competition in all states, including all

states in which Plaintiffs do business allowing indirect purchasers to collect damages, and

Plaintiffs paid supra-competitive, artificially inflated prices for Automotive Steel Tubes in all

states in which Plaintiffs do business allowing indirect purchasers to collect damages.

        83.     Defendants’ anticompetitive, unfair acts described above were knowing, willful

and constitute flagrant violations of the below-listed state antitrust statutes.

        84.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Arizona Revised Statutes, §§ 44-1401, et seq.

                a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                    following effects: (1) Automotive Steel Tubes price competition was

                    restrained, suppressed, and eliminated throughout Arizona; (2) Automotive

                    Steel Tubes prices were raised, fixed, maintained and stabilized at artificially

                    high levels throughout Arizona; (3) Plaintiffs were deprived of free and open

                    competition; and (4) Plaintiffs paid supra-competitive, artificially inflated

                    prices for Automotive Steel Tubes and vehicles containing Automotive Steel

                    Tubes.

                b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                    affected Arizona commerce.

                c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs




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                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants entered into agreements in restraint of

                  trade in violation of Ariz. Rev. Stat. §§ 44-1401, et seq. Accordingly,

                  Plaintiffs seek all forms of relief available under Ariz. Rev. Stat. §§ 44-1401,

                  et seq.

       85.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the California Business and Professions Code, §§16700, et seq.

              a. During the Relevant Time Period, Defendants and their co-conspirators

                  entered into and engaged in a continuing unlawful trust in restraint of the trade

                  and commerce described above in violation of Section 16720, California

                  Business and Professions Code. Defendants, each of them, have acted in

                  violation of Section 16720 to fix, raise, stabilize, and maintain prices of, and

                  allocate markets for, Automotive Steel Tubes at supra-competitive levels.

              b. The aforesaid violations of Section 16720, California Business and

                  Professions Code, consisted, without limitation, of a continuing unlawful trust

                  and concert of action among Defendants and their co-conspirators, the

                  substantial terms of which were to fix, raise, maintain, and stabilize the prices

                  of, and to allocate markets for, Automotive Steel Tubes.

              c. For the purpose of forming and effectuating the unlawful trust, Defendants

                  and their co-conspirators have done those things which they combined and

                  conspired to do, including but in no way limited to the acts, practices and

                  course of conduct set forth above and the following: (1) Fixing, raising,




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                  stabilizing, and pegging the price of Automotive Steel Tubes; and (2)

                  Allocating among themselves the production of Automotive Steel Tubes.

               d. The combination and conspiracy alleged herein has had, inter alia, the

                  following effects: (1) Price competition in the sale of Automotive Steel Tubes

                  has been restrained, suppressed, and/or eliminated in the State of California;

                  (2) Prices for Automotive Steel Tubes sold by Defendants and their co-

                  conspirators have been fixed, raised, stabilized, and pegged at artificially high,

                  non-competitive levels in the State of California and throughout the United

                  States; and (3) those who purchased Automotive Steel Tubes or vehicles

                  containing Automotive Steel Tubes manufactured by Defendants and their co-

                  conspirators have been deprived of the benefit of free and open competition.

               e. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property in that they paid more for

                  Automotive Steel Tubes than they otherwise would have paid in the absence

                  of Defendants’ unlawful conduct. As a result of Defendants’ violation of

                  Section 16720 of the California Business and Professions Code, Plaintiffs

                  seek treble damages and their cost of suit, including a reasonable attorney’s

                  fee, pursuant to Section 16750(a) of the California Business and Professions

                  Code.

       86.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Kansas Statutes Annotated, §§ 50-101, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Steel Tubes price competition was




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                  restrained, suppressed, and eliminated throughout Kansas; (2) Automotive

                  Steel Tubes prices were raised, fixed, maintained and stabilized at artificially

                  high levels throughout Kansas; (3) Plaintiffs were deprived of free and open

                  competition; and (4) Plaintiffs paid supra-competitive, artificially inflated

                  prices for Automotive Steel Tubes and vehicles containing Automotive Steel

                  Tubes.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Kansas commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Kansas Stat. Ann. §§ 50-101, et seq.

                  Accordingly, Plaintiffs all forms of relief available under Kansas Stat. Ann. §§

                  50-101, et seq.

       87.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Mississippi Code Annotated §§ 75-21-1, et seq.

              a. Defendants ’and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Steel Tubes price competition was

                  restrained, suppressed, and eliminated throughout Mississippi; (2) Automotive

                  Steel Tubes prices were raised, fixed, maintained and stabilized at artificially

                  high levels throughout Mississippi; (3) Plaintiffs, including those who resided

                  in Mississippi and/or purchased Automotive Steel Tubes or vehicles in




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                  Mississippi, were deprived of free and open competition, including in

                  Mississippi, and (4) Plaintiffs, including those who resided in Mississippi

                  and/or purchased Automotive Steel Tubes or vehicles in Mississippi, paid

                  supra-competitive, artificially inflated prices for Automotive Steel Tubes,

                  including in Mississippi.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Mississippi commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Mississippi Code Ann. § 75-21-1, et seq.

                  Accordingly, Plaintiffs seek all relief available under Mississippi Code Ann. §

                  75-21-1, et seq.

       88.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Nebraska Revised Statutes §§ 59-801, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Steel Tubes price competition was

                  restrained, suppressed, and eliminated throughout Nebraska; (2) Automotive

                  Steel Tubes prices were raised, fixed, maintained and stabilized at artificially

                  high levels throughout Nebraska; (3) Plaintiffs were deprived of free and open

                  competition; and (4) Plaintiffs and paid supra-competitive, artificially inflated

                  prices for Automotive Steel Tubes and vehicles containing Automotive Steel




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                  Tubes.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Nebraska commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of Nebraska Revised Statutes §§ 59-801, et seq.

                  Accordingly, Plaintiffs seek all relief available under Nebraska Revised

                  Statutes §§ 59-801, et seq.

       89.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Hampshire Revised Statutes §§ 356:1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Steel Tubes price competition was

                  restrained, suppressed, and eliminated throughout New Hampshire; (2)

                  Automotive Steel Tubes prices were raised, fixed, maintained and stabilized at

                  artificially high levels throughout New Hampshire; (3) Plaintiffs were

                  deprived of free and open competition; and (4) Plaintiffs and paid supra-

                  competitive, artificially inflated prices for Automotive Steel Tubes and

                  vehicles containing Automotive Steel Tubes.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Hampshire commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs




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                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Hampshire Revised Statutes §§ 356:1, et

                  seq. Accordingly, Plaintiffs seek all relief available under New Hampshire

                  Revised Statutes §§ 356:1, et seq.

       90.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New Mexico Statutes Annotated §§ 57-1-1, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Steel Tubes price competition was

                  restrained, suppressed, and eliminated throughout New Mexico; (2)

                  Automotive Steel Tubes prices were raised, fixed, maintained and stabilized at

                  artificially high levels throughout New Mexico; (3) Plaintiffs were deprived of

                  free and open competition; and (4) Plaintiffs and paid supra-competitive,

                  artificially inflated prices for Automotive Steel Tubes and vehicles containing

                  Automotive Steel Tubes.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Mexico commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of New Mexico Statutes Annotated §§ 57-1-1, et




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                  seq. Accordingly, Plaintiffs seek all relief available under New Mexico

                  Statutes Annotated §§ 57-1-1, et seq.

       91.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the New York General Business Laws §§ 340, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Steel Tubes price competition was

                  restrained, suppressed, and eliminated throughout New York; (2) Automotive

                  Steel Tubes prices were raised, fixed, maintained and stabilized at artificially

                  high levels throughout New York; (3) Plaintiffs, including those who resided

                  in New York and/or purchased Automotive Steel Tubes or vehicles in New

                  York, were deprived of free and open competition, including in New York;

                  and (4) Plaintiffs, including those who resided in New York and/or purchased

                  Automotive Steel Tubes or vehicles in New York, paid supra-competitive,

                  artificially inflated prices for Automotive Steel Tubes when they purchased,

                  including in New York, Automotive Steel Tubes or vehicles containing

                  Automotive Steel Tubes, or purchased vehicles and Automotive Steel Tubes

                  that were otherwise of lower quality than they would have been absent

                  Defendants’ and their co-conspirators’ illegal acts, or were unable to purchase

                  Automotive Steel Tubes or vehicles that they would have otherwise have

                  purchased absent the illegal conduct.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New York commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs




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                   have been injured in their business and property and are threatened with

                   further injury.

               d. By reason of the foregoing, Defendants have entered into agreements in

                   restraint of trade in violation of the New York Donnelly Act, §§ 340, et seq.

                   The conduct set forth above is a per se violation of the Act. Accordingly,

                   Plaintiffs seek all relief available under New York Gen. Bus. Law §§ 340, et

                   seq.

       92.     Defendants have entered into an unlawful agreement in restraint of trade in

violation of the North Carolina General Statutes §§ 75-1, et seq.

               a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                   following effects: (1) Automotive Steel Tubes price competition was

                   restrained, suppressed, and eliminated throughout North Carolina; (2)

                   Automotive Steel Tubes prices were raised, fixed, maintained and stabilized at

                   artificially high levels throughout North Carolina; (3) Plaintiffs, including

                   those who resided in North Carolina and/or purchased Automotive Steel

                   Tubes or vehicles in North Carolina, were deprived of free and open

                   competition, including in North Carolina; and (4) Plaintiffs, including those

                   who resided in North Carolina and/or purchased Automotive Steel Tubes or

                   vehicles in North Carolina, paid supra-competitive, artificially inflated prices

                   for Automotive Steel Tubes and vehicles containing Automotive Steel Tubes,

                   including in North Carolina.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected North Carolina commerce.




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              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in

                  restraint of trade in violation of North Carolina General Statutes §§ 75-1, et

                  seq. Accordingly, Plaintiffs seek all relief available under North Carolina

                  General Statutes §§ 75-1, et seq.

       93.    Defendants have entered into an unlawful agreement in restraint of trade in

violation of the Oregon Revised Statutes §§ 646.705, et seq.

              a. Defendants’ and their co-conspirators’ combinations or conspiracies had the

                  following effects: (1) Automotive Steel Tubes price competition was

                  restrained, suppressed, and eliminated throughout Oregon (2) Automotive

                  Steel Tubes prices were raised, fixed, maintained and stabilized at artificially

                  high levels throughout Oregon; (3) Plaintiffs were deprived of free and open

                  competition; and (4) Plaintiffs and paid supra-competitive, artificially inflated

                  prices for Automotive Steel Tubes and vehicles containing Automotive Steel

                  Tubes.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected Oregon commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. By reason of the foregoing, Defendants have entered into agreements in




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                    restraint of trade in violation of Oregon Revised Statutes §§ 646.705, et seq.

                    Accordingly, Plaintiffs seek all relief available under Oregon Revised Statutes

                    §§ 646.705, et seq.

       94.    Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state

statutes as set forth above against Defendants for the following states: California, Florida,

Kansas, Mississippi, New Hampshire, New Mexico, New York, South Carolina.

       95.    Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set

forth above against Defendants for the following states: Arkansas, California, Florida,

Mississippi, North Carolina, Oregon, South Carolina.

       96.    Plaintiff VTG Automotive brings claims pursuant to the state statutes as set forth

above against Defendants for the following states: Arizona, Florida, California, Nebraska, New

Mexico.

       97.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

       98.    Plaintiffs, having purchased new automobiles containing Automotive Steel Tubes

and/or replacement parts for Automotive Steel Tubes in the above states, as set forth in

Paragraphs 76-97 supra have been injured in their business and property by reason of

Defendants’ unlawful combination, contract, conspiracy and agreement. Plaintiffs have paid

more for Automotive Steel Tubes or vehicles containing Automotive Steel Tubes than they

otherwise would have paid in the absence of Defendants’ unlawful conduct. This injury is of the

type the antitrust laws of the above states were designed to prevent and flows from Defendants’

unlawful conduct.

       99.    Defendants’ violations of the above-listed state laws, as set forth in Paragraphs




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76-97 supra have proximately caused the injuries sustained by Plaintiffs.

       100.    In addition, Defendants have profited significantly from the aforesaid conspiracy.

Defendants’ profits derived from their anticompetitive conduct some at the expense and

detriment of Plaintiffs.

       101.    Accordingly, Plaintiffs seek damages (including statutory damages where

applicable), to be trebled or otherwise increased as permitted by a particular jurisdiction’s

antitrust or consumer protection law, and costs of suit, including reasonable attorneys’ fees, to

the extent permitted by the above state laws.

           c. Count 3 – Violation of State Law Consumer Protection Statutes

       102.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       103.    Defendants knowingly engaged in unfair competition or unfair, unconscionable,

deceptive, or fraudulent acts or practices in violation of the state consumer protection and unfair

competition statutes listed below.

       104.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Arkansas Code Annotated, § 4-88-101.

               a. Defendants knowingly agreed to, and did in fact act in, restraint of trade or

                   commerce by affecting, fixing, controlling, and/or maintaining at non-

                   competitive and artificially inflated levels, the prices at which Automotive

                   Steel Tubes were sold, distributed, or obtained in Arkansas and took efforts to

                   conceal their agreements from Plaintiffs.

               b. The aforementioned conduct on the part of Defendants constituted

                   “unconscionable” and “deceptive” acts or practices in violation of Arkansas

                   Code Annotated, § 4-88-107(a)(10).




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              c. Defendants’ unlawful conduct had the following effects: (1) Automotive Steel

                   Tubes price competition was restrained, suppressed, and eliminated

                   throughout Arkansas; (2) Automotive Steel Tubes prices were raised, fixed,

                   maintained, and stabilized at artificially high levels throughout Arkansas; (3)

                   Plaintiffs were deprived of free and open competition; and (4) Plaintiffs paid

                   supra-competitive, artificially inflated prices for Automotive Steel Tubes and

                   vehicles containing Automotive Steel Tubes.

              d. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected Arkansas commerce and consumers.

              e. As a direct and proximate result of the unlawful conduct of Defendants, have

                   been injured in their business and property and are threatened with further

                   injury.

              f. Defendants have engaged in unfair competition or unfair or deceptive acts or

                   practices in violation of Arkansas Code Annotated, § 4-88-107(a)(10) and,

                   accordingly, Plaintiffs seek all relief available under that statute.

       105.   The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the California Business and Professions Code,

§§17200, et seq.

              a. During the Relevant Time Period, Defendants committed and continue to

                   commit acts of unfair competition, as defined by Sections 17200, et seq. of the

                   California Business and Professions Code, by engaging in the acts and

                   practices specified above.

              b. During the Relevant Time Period, Defendants’ illegal conduct substantially




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               affected California commerce and consumers.

            c. This claim is instituted pursuant to Sections 17203 and 17204 of the

               California Business and Professions Code, to obtain restitution from

               Defendants for acts, as alleged herein, that violated Section 17200 of the

               California Business and Professions Code, commonly known as the Unfair

               Competition Law.

            d. Defendants’ conduct as alleged herein violated Section 17200. The acts,

               omissions, misrepresentations, practices and non-disclosures of Defendants, as

               alleged herein, constituted a common, continuous, and continuing course of

               conduct of unfair competition by means of unfair, unlawful, and/or fraudulent

               business acts or practices within the meaning of California Business and

               Professions Code, Section 17200, et seq., including, but not limited to, the

               following: (1) the violations of Section 1 of the Sherman Act, as set forth

               above; (2) the violations of Section 16720, et seq., of the California Business

               and Professions Code, set forth above;

            e. Defendants’     acts,     omissions,     misrepresentations,   practices,   and

               nondisclosures, as described above, whether or not in violation of Section

               16720, et seq., of the California Business and Professions Code, and whether

               or not concerted or independent acts, are otherwise unfair, unconscionable,

               unlawful or fraudulent;

            f. Defendants’ acts or practices are unfair to purchasers of Automotive Steel

               Tubes (or vehicles containing them) in the State of California within the

               meaning of Section 17200, California Business and Professions Code; and




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            g. Defendants’ unlawful conduct had the following effects: (1) Automotive Steel

               Tubes price competition was restrained, suppressed, and eliminated

               throughout California; (2) Automotive Steel Tubes prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout California; (3)

               Plaintiffs, including those who resided in California and/ or purchased

               Automotive Steel Tubes or vehicles in California, were deprived of free and

               open competition, including in California; and (4) Plaintiffs, including those

               who resided in California and/or purchased Automotive Steel Tubes or

               vehicles in California, paid supra-competitive, artificially inflated prices for

               Automotive Steel Tubes and vehicles containing Automotive Steel Tubes,

               including in California.

            h. Defendants’ acts and practices are fraudulent or deceptive within the meaning

               of Section 17200 of the California Business and Professions Code.

            i. Plaintiffs are entitled to full restitution and/or disgorgement of all revenues,

               earnings, profits, compensation, and benefits that may have been obtained by

               Defendants as a result of such business acts or practices.

            j. The illegal conduct alleged herein is continuing and there is no indication that

               Defendants will not continue such activity into the future.

            k. As alleged in this Complaint, Defendants and their co-conspirators have been

               unjustly enriched as a result of their wrongful conduct and by Defendants’

               unfair competition. Plaintiffs are accordingly entitled to equitable relief

               including restitution and/or disgorgement of all revenues, earnings, profits,

               compensation, and benefits that may have been obtained by Defendants as a




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                   result of such business practices, pursuant to the California Business and

                   Professions Code, Sections 17203 and 17204.

       106.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the Florida Deceptive and Unfair Trade Practices Act,

Fla. Stat. §§501.201, et seq.

               a. Defendants’ unlawful conduct had the following effects: (1) Automotive Steel

                   Tubes price competition was restrained, suppressed, and eliminated

                   throughout Florida; (2) Automotive Steel Tubes prices were raised, fixed,

                   maintained, and stabilized at artificially high levels throughout Florida; (3)

                   Plaintiffs were deprived of free and open petition; (4) Plaintiffs paid supra-

                   competitive, artificially inflated prices for Automotive Steel Tubes.

               b. During the Relevant Time Period, Defendants’ illegal conduct substantially

                   affected Florida commerce and purchasers of Automotive Steel Tubes and

                   vehicles in Florida.

               c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                   have been injured and are threatened with further injury.

               d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                   practices in violation of Florida Stat. § 501.201, et seq., and, accordingly,

                   Plaintiffs seek all relief available under that statute.

       107.    Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the New Mexico Stat. § 57-12-1, et seq.

               a. Defendants and their co-conspirators agreed to, and did in fact, act in restraint

                   of trade or commerce by affecting, fixing, controlling and/or maintaining at




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               noncompetitive and artificially inflated levels, the prices at which Automotive

               Steel Tubes were sold, distributed or obtained in New Mexico and took efforts

               to conceal their agreements from Plaintiffs.

            b. Plaintiffs were not aware of Defendants’ price-fixing conspiracy and were

               therefore unaware that they were being unfairly and illegally overcharged.

               There was a gross disparity of bargaining power between the parties with

               respect to the price charged by Defendants for Automotive Steel Tubes.

               Defendants had the sole power to set that price and Plaintiffs had no power to

               negotiate a lower price. Moreover, Plaintiffs lacked any meaningful choice in

               purchasing Automotive Steel Tubes because they were unaware of the

               unlawful overcharge and because they had to purchase Automotive Steel

               Tubes in order to be able to operate their vehicles. Defendants’ conduct with

               regard to sales of Automotive Steel Tubes, including their illegal conspiracy

               to secretly fix the price of Automotive Steel Tubes at supra-competitive levels

               and overcharge consumers, was substantively unconscionable because it was

               one-sided and unfairly benefited Defendants at the expense of Plaintiffs and

               the public. Defendants took grossly unfair advantage of Plaintiffs.

            c. The aforementioned conduct on the part of Defendants constituted

               “unconscionable trade practices,” in violation of N.M.S.A. Stat. § 57-12-3, in

               that such conduct, inter alia, resulted in a gross disparity between the value

               received by Plaintiffs and the prices paid by them for Automotive Steel Tubes

               as set forth in N.M.S.A., § 57-12-2E, due to the inflated prices paid by

               Plaintiffs for vehicles and Automotive Steel Tubes.




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               d. Defendants’ unlawful conduct had the following effects: (1) Automotive Steel

                  Tubes price competition was restrained, suppressed, and eliminated

                  throughout New Mexico; (2) Automotive Steel Tubes prices were raised,

                  fixed, maintained, and stabilized at artificially high levels throughout New

                  Mexico; (3) Plaintiffs were deprived of free and open competition; and (4)

                  Plaintiffs paid supra-competitive, artificially inflated prices for Automotive

                  Steel Tubes and vehicles containing Automotive Steel Tubes.

               e. During the Relevant Time Period, Defendants’ illegal conduct substantially

                  affected New Mexico commerce and consumers.

               f. As a direct and proximate result of the unlawful conduct of Defendants,

                  Plaintiffs have been injured and are threatened with further injury.

               g. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of New Mexico Stat. § 57-12-1, et seq., and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       108.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of N.Y. Gen. Bus. Law § 349, et seq.

               a. The Defendants and their co-conspirators agree to, and did in fact, act in

                  restraint of trade or commerce by affecting, fixing, controlling and/or

                  maintaining, at artificial and non-competitive levels, the prices at which

                  Automotive Steel Tubes were sold, distributed or obtained in New York and

                  took efforts to conceal their agreements from Plaintiffs.

               b. Defendants deceptively led purchasers, such as Plaintiffs, to believe that the

                  Automotive Steel Tubes they had purchased as replacements and inside




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               vehicles had been sold at legal competitive prices, when they had in fact been

               sold at collusively obtained inflated prices, that were passed on to them.

            c. The conduct of the Defendants described herein constitutes consumer oriented

               deceptive acts or practices within the meaning of N.Y. Gen. Bus. Law § 349,

               which resulted in injuries to purchasers and broad adverse impact on the

               public at large, and harmed the public interest of New York State in an honest

               marketplace in which economic activity is conducted in a competitive manner.

            d. The Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tubes price competition was restrained, suppressed, and eliminated

               throughout New York; (2) Automotive Steel Tubes prices were raised, fixed,

               maintained, and stabilized at artificially high levels throughout New York; (3)

               Plaintiffs, including those who resided in New York and/or purchased

               Automotive Steel Tubes or vehicles in New York, were deprived of free and

               open competition, including in New York; and (4) Plaintiffs, including those

               who resided in New York and/or purchased Automotive Steel Tubes or

               vehicles in New York, paid supra-competitive, artificially inflated prices for

               Automotive Steel Tubes, including in New York.

            e. Because of Defendants' unlawful trade practices in the State of New York,

               New York purchasers who indirectly purchased Automotive Steel Tubes were

               misled to believe that they were paying a fair price for Automotive Steel

               Tubes or the price increases for Automotive Steel Tubes were for valid

               business reasons; and similarly situated purchasers were affected by

               Defendants’ conspiracy.




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               f. During the Relevant Time Period, the Defendants’ illegal conduct

                   substantially affected New York commerce and New York purchasers.

               g. During the Relevant Time Period, the Defendants directly, or indirectly and

                   through affiliates they dominated and controlled, manufactured, sold and/or

                   distributed Automotive Steel Tubes in New York.

               h. Defendants knew that their unlawful trade practices with respect to pricing

                   Automotive Steel Tubes would have a broad impact, causing Plaintiffs who

                   indirectly purchased Automotive Steel Tubes to be injured by paying more for

                   Automotive Steel Tubes than they would have paid in the absence of

                   Defendants’ unlawful trade acts and practices.

               i. Plaintiffs seek all relief available pursuant to N.Y. Gen. Bus. Law § 349 (h).

       109.    The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq.

               a. The Defendants and their co-conspirators agreed to, and did in fact, act in

                   restraint of trade or commerce by affecting, fixing, controlling and/or

                   maintaining, at artificial and non-competitive levels, the prices at which

                   Automotive Steel Tubes were sold, distributed or obtained in North Carolina

                   and took efforts to conceal their agreements from Plaintiffs.

               b. The conduct of the Defendants described herein constitutes consumer oriented

                   deceptive acts or practices within the meaning of North Carolina law, which

                   resulted in injury to purchasers and broad adverse impact on the public at

                   large, and harmed the public interest of North Carolina purchasers in an




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               honest marketplace in which economic activity is conducted in a competitive

               manner.

            c. The Defendants’ unlawful conduct had the following effects: (1) Automotive

               Steel Tubes price competition was restrained, suppressed, and eliminated

               throughout North Carolina; (2) Automotive Steel Tubes prices were raised,

               fixed, maintained, and stabilized at artificially high levels throughout North

               Carolina; (3) Plaintiffs, including those who resided in North Carolina and/or

               purchased Automotive Steel Tubes or vehicles in North Carolina were

               deprived of free and open competition, including in North Carolina; and (4)

               Plaintiffs, including those who resided in North Carolina and/or purchased

               Automotive Steel Tubes or vehicles in North Carolina, paid supra-

               competitive, artificially inflated prices for Automotive Steel Tubes, including

               in North Carolina.

            d. During the Relevant Time Period, the Defendants’ illegal conduct

               substantially affected North Carolina commerce and purchasers in North

               Carolina.

            e. Defendants deceptively concealed their unlawful activities by conducting

               meetings and conversations in secret.

            f. During the Relevant Time Period, the Defendants directly, or indirectly and

               through affiliates they dominated and controlled, manufactured, sold and/or

               distributed Automotive Steel Tubes in North Carolina.

            g. Plaintiffs seek actual damages for their injuries caused by these violations in

               an amount to be determined at trial and are threatened with further injury. The




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                  Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of North Carolina Gen. Stat. § 75-1.1, et seq., and,

                  accordingly, Plaintiffs seek all relief available under that statute.

       110.   The Defendants have engaged in unfair competition or unfair, unconscionable, or

deceptive acts or practices in violation of the South Carolina Unfair Trade Practices Act, S.C.

Code Ann. §§ 39-5-10, et seq.

              a. Defendants’ combinations or conspiracies had the following effects:

                  (1) Automotive Steel Tubes price competition was restrained, suppressed, and

                  eliminated throughout South Carolina; (2) Automotive Steel Tubes prices

                  were raised, fixed, maintained, and stabilized at artificially high levels

                  throughout South Carolina; (3) Plaintiffs were deprived of free and open

                  competition; and (4) Plaintiffs paid supra-competitive, artificially inflated

                  prices Automotive Steel Tubes and vehicles containing Automotive Steel

                  Tubes.

              b. During the Relevant Time Period, Defendants’ illegal conduct had a

                  substantial effect on South Carolina commerce.

              c. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiffs

                  have been injured in their business and property and are threatened with

                  further injury.

              d. Defendants have engaged in unfair competition or unfair or deceptive acts or

                  practices in violation of S.C. Code Ann. §§ 39-5-10, et seq., and, accordingly,

                  Plaintiffs seek all relief available under that statute.

       111.   Specifically, Plaintiff Group 1 Automotive brings claims pursuant to the state




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statutes as set forth above against Defendants for the following states: California, Florida, New

Mexico, New York, and South Carolina.

       112.    Plaintiff Asbury Automotive brings claims pursuant to the state statutes as set

forth above against Defendants for the following states: Arkansas, California, Florida, North

Carolina, and South Carolina.

       113.    Plaintiff VTG brings claims pursuant to the state statutes as set forth above

against Defendants for the following states: Florida, California, and New Mexico.

       114.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring claims

pursuant to the New York statutes set forth above against Defendants.

           d. Count 4 – Unjust Enrichment

       115.    Plaintiffs incorporate by reference the allegations in the preceding paragraphs.

       116.    Plaintiffs Group 1 Automotive, Asbury Automotive, and VTG bring this claim

under the laws of all states listed in Count 2 and Count 3 supra, except California. Plaintiff

Group 1 Automotive also brings this claim under the laws of Massachusetts. Plaintiff Asbury

Automotive also brings this claim under the laws of Missouri. Plaintiff VTG also brings this

claim under the laws of Missouri and Illinois.

       117.    Plaintiffs Major Automotive, City World Motors, and Bronx Ford bring this claim

under the laws of New York.

       118.    As a result of their unlawful conduct described above, Defendant have and will

continue to be unjustly enriched. Defendants have been unjustly enriched by the receipt of, at a

minimum, unlawfully inflated prices and unlawful profits on sales of Automotive Steel Tubes.

       119.    Defendants have benefited from their unlawful acts and it would be inequitable

for Defendants to be permitted to retain any of the ill-gotten gains resulting from the




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overpayments made by Plaintiffs for Automotive Steel Tubes.

       120.     Plaintiffs are entitled to the amount of Defendants’ ill-gotten gains resulting

from their unlawful, unjust, and inequitable conduct.

       121.    Pursuit of any remedies against the OEMs from whom Plaintiffs purchased

vehicles containing Automotive Steel Tubes would have been futile, given that those OEMs did

not take part in Defendants’ conspiracy.

   IX. DEMAND FOR JURY TRIAL

       122.    Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs demand that, at the trial of this cause,

a jury be empaneled to determine all disputed issues of fact.

   X. PRAYER

       WHEREFORE, Plaintiffs pray for relief and judgment as follows:

               1. An injunction against Defendants, pursuant to 15 U.S.C. §26, preventing and

                   restraining the violations alleged herein;

               2. Judgment in favor of each Plaintiff and against each Defendant, in an amount

                   to be determined at trial including, but not limited to, compensatory damages,

                   trebled damages, and pre-judgment and post-judgment interest, as permitted

                   by law;

               3. Restitution, including disgorgement of profits Defendants obtained as a result

                   of their acts of unfair competition and unjust enrichment;

               4. An award of the cost of the suit, including a reasonable attorney's fee; and

               5. Such other and further relief as the Court deems just, equitable, and proper.




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DATED: May 20, 2020                       Respectfully submitted,

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